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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHER_N DISTRICT OF ILLI'NOIS

UNITED STATES OF AMERICA,
PLAINTIFF,

v.
Civil No. 10 C 2946
COOK COUNTY, ILLINOIS;

THOMAS DART, COOK COUNTY
SHERIFF (in his official capacity);

TODD H. STROGER, COOK COUNTY
BOARD PRESIDENT (in his official capacity);
COOK COUNTY BOARD OF
COMMISS]ONERS (in their official capacity);

DEFEN DANTS.

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AGREED oRDER
I. mTRoI)UCTIoN

l l. On February 16, 2007, the Civil Rights Division of the United States Department of

‘ Justice and the United States Attorney’s Office for the Northern District of Illinois
(collectively, “United States”) notified Cook County officials of their intention to
investigate conditions of confinement at the Cook County Jai| (“the Facility”), pursuant
to the Civil Rights of Institutionalized Persons Act, 42 U.S.C. § 1997 (“CRIPA”).

2. On June 18-22, 2007 and July 23-27, 2007, the United States toured the Facility with
consultants in the fields of use of force, corrections, correctional medical care,
correctional mental health care, fire safety, and environmental health.

3. Throughout the course of the investigation, the United States received complete
cooperation and access to all facilities and documents from the Cook County Board of
Commissioners and the Cook County Sheriff’s Off`lce.

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On July 11, 2008, the United States issued a findings letter pursuant to 42 U.S.C. § 1997
that concluded that certain conditions at the Facility violate the constitutional rights of
individuals confined at the Facility. The findings letter and the conclusions therein are
contested by Defendants. Furthermore, by entering into this Agreed Order, Defendants to
this action do not waive the right to contest the July 11, 2008 findings letter or any of the
conclusions set forth therein.

Defendants in this action are Cook County, Illinois; the Cook County Sheriff`, Thomas
Dart (in his official capacity); the Cook County Board President, Todd H. Stroger (in his
official capacity); the Cook County Board of Commissioners (in their official capacities);
and their successors, contractors, and agents (collectively, “Defendants”). Currently, all
corrections and security functions at the Faciiity are administered by the Cook County
Department of Corrections (“CCDOC”)under the Cook County Sheriff. Health care
services at the Facility are provided by Cermal< Health Services of Cook County
(“Cermak”), a public entity that is administered by the Cook County Health and Hospitals
System Board. Maintenance responsibilities for the Facility’s physical plant are handled
by the Cook County Department of Facilities Management (“DFM”). Defendants shall
ensure that all Cook County agencies will take any actions necessary to comply with the
provisions of` this Agreed Order.

The United States District Court for the Northern District of` Illinois (“Court”) has
jurisdiction over this action pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1345, and 42
U.S.C. § 1997. Venue is proper in this district pursuant to 28 U.S.C. § 139](b).

For the purposes of this lawsuit only and in order to settle this matter, Defendants consent
to the entry cfa finding that the conditions at the Facility necessitate the remedial
measures contained in this Agreed Order. As indicated in Section VII of this Agreed
Order, the parties consent to a finding that this Agreed Order complies in all respects with
the provisions of the Prison Litigation Ref`orm Act, 18 U.S.C. § 3626(a).

No person or entity is intended to be a third-party beneficiary of the provisions of this
Agreed Order for purposes of any civil, criminal, or administrative action, and
accordingly, no person or entity may assert any claim or right as a beneficiary or
protected class under this Agreed Order. “i`his Agreed Order does not create and shall not
be the basis of a cause of` action f`or any non-party. This Agreed Order is not intended to
impair or expand the right of any person or organization to seek relief against Defendants
or their officials, employees, or agents for their conduct. This Agreed Order does not
alter iegal standards governing any such claims, including those standards established by
Illinois law.

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The purpose of this Agreed Order is to protect the constitutional rights of the inmates
detained at the Facility. The terms and requirements of this Agreed Order will be
interpreted to be consistent with the measures necessary to protect the constitutional
rights of inmates and are not meant to expand or contract the constitutional rights of
inmates at the Facility.

II. DEFINITIONS

“The Facility” shall refer to the Cook County Jail, located at 2700 South Califomia
Avenue, Chicago, Illinois 60608, and shall include Divisions I-VI, VIII-XI, Cermak
Health Services Building, the Receiving, Classification, and Diagnostics Center
(“RCDC”), the Residential Treatment Unit (“RTU”), as well as any building that is built,
leased, or otherwise used, to replace or supplement the Facility.

“DOJ” shall refer to the United States Department of Justice, which represents the United
States in this matter.

“Effective date” shall mean the date the Agreed Order is signed and entered by the Court.

“Exigent circumstances” shall mean unexpected events or unforeseen occurrences giving
rise to an emergency situation that can, in the short term, be remedied only by departing
from what would otherwise be required byithis Agreed Order. The overpopulation of the
Facility with inmates as the result of a continuing and steady rise in inmate population
over time is not an “unexpected event” or “unforeseen occurrence” within the meaning of
this definition.

“Hot-bunk,” addressed in provision 32.l(iii), means the practice of assigning more than
one inmate at the Facility to a single bed, so that the two (or more) inmates assigned to
that bed must sleep on the bed in shifts.

“Include” or “including” shall mean “include, but not be limited to” or “including, but not
limited to.”

“Inmate” or “inmates” shall be construed broadly to refer to one or more individuals
detained at, or otherwise housed, held, or confined at the Facility.

“Infirmary” shall mean the areas located on the second and third floors of the Cermak
Building at the Facility, or any successor facility designed to replace these areas.

Consistent with, or in accordance with, the term “general|y accepted correctional
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standards” shall mean those industry standards accepted by a majority of correctional
professionals or organizations in the relevant subject area.

“Licensed Correctiona| Medical Technician” means an individual licensed as Emergency
Medical Technician by the Illinois Department ot` Public Health.

“Qualified Medical Professional” shall mean a licensed physician, licensed physician
assistant, or a licensed nurse practitioner, who is currently licensed by the State of Illinois
to deliver those health care services he or she has undertaken to provide.

“Qualified Medical Staff” shall refer to Qualified Medical Professionals and Qualified
Nursing Staff.

“Qualified Mental Health Professional” shall refer to an individual with a minimum of
masters-level education and training in psychiatry, psychology, counseling, social work
or psychiatric nursing, who is currently licensed by the State of Illinois to deliver those
mental health services he or she has undertaken to provide.

“Qualified Mental Health Staff” shall refer to individuals with a minimum of a bachelor’s
degree and two years of experience providing mental health services

“Qualified Nursing Staf`f” means registered nurses and licensed practical nurses currently
licensed by the State of Illinois to deliver those health services they have undertaken to
provide.

“Serious suicide attempt” means a suicide attempt that is considered to be either
potentially life-threatening or that required medical treatment for serious harm.

“Special Management Units” means those housing units of the Facility designated for
inmates in administrative or disciplinary segregation, in protective custody, on suicide
precautions, or with mental illness.

“Suicide Precautions” means any level of watch, observation, or measures to prevent self-
harm.

“Train” means to instruct in the skills addressed to a level that the trainee has the
demonstrated proficiency to implement those skills as, and when called for, in the
training. “Trained” means to have achieved such proficiency.

“Use of` force,” means the application of physical, chemical, or mechanical measures on
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an inmate. “Use of force” shall not include unresisted handcuffing or unresisted
shackling of inmates for movement purposes.

30. Throughout this Agreed Order, the following terms are used when discussing
compliance: substantial compliance, partial compliance, and non-compliance:
“Substantial Compliance” indicates that the relevant Defendant(s) has achieved
compliance with most or all components of the relevant provision of the Agreed Order.
“Partial Compliance” indicates that compliance has been achieved on some of the
components of the relevant provision ofthe Agreed Order, but significant work remains.
“Non-compliance” indicates that most or all of the components of the Agreed Order
provision have not yet been met.

III. SUBSTANTIVE PROVISIONS

Defendants shall take any actions necessary to comply with the substantive provisions of
the Agreed Order listed below. The primary responsibility of each substantive provision is
assigned to CCDOC, Cermak, or the DFM, respectively The Parties recognize that there are a
number of ways to achieve constitutional minima. In determining compliance with the
substantive provisions of this Agreed Order, consideration shall be given to the operational
requirements of the Facility and the policies and practices employed by CCDOC, Cermak, and
DFM.

A. PROTECTION FROM HARM
31. Use of Force by Staff

a. CCDOC shall maintain comprehensive and contemporary policies and
procedures, in accordance with generally accepted correctional standards,
surrounding the use of force and with particular emphasis regarding permissible
and impermissible uses of force.

b. CCDOC shall maintain use of force policies and pre-service and in-service
training programs for correctional officers and supervisors that address the
following impermissible uses of force:

(l) use of force as a response to verbal insults or inmate threats where there is
no immediate threat to the safety of the institution, inmates, or staff;

(2) use of force as a response to inmates’ failure to follow instructions where
there is no immediate threat to the safety of the institution, inmates, or

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staff, unless CCD()C has attempted a hierarchy of nonphysical alternatives
that are documented;

(3) use offeree as punishment or retaliation;

(4) use of force involving striking, hitting, or punching a restrained and
non-combative inmate;

(5) use of force against an inmate after the inmate has ceased to offer
resistance and is under control;

(6) use of choke holds on an inmate, unless lethal force isjustified; and

(7) use of inappropriate or excessive force.

c. CCDOC shall maintain a policy to ensure that staff adequately and promptly
report all uses of force, in accordance with generally accepted correctional
standards

d. CCDOC shall require that use of force reports:

( 1)
(2)

(3)

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(5)

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(7)

be written in specific terms in order to capture the details of the incident;

contain an accurate account of the events leading to the use of force
incident;

include a description of the instrument(s) of restraint or control, if any, and
the manner in which it was used;

note whether an inmate disciplinary report was completed in connection
with the incident that prompted the use of force;

describe the nature and extent of apparent and reported injuries sustained
both by the inmate and staff member;

contain the date and time medical attention was actually provided;

describe, in detailed, factual terms, the type and amount of force used as
well as the precise actions taken in a particular incident; and

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(8) note whether a use of force was videotaped If the use of force is not
videotaped, the reporting correctional officer and supervisor will provide
an explanation as to why it was not videotaped.

e. CCDOC shall continue to require prompt review by the shift commander of all
use of force reports The shift commander’s review of use of force reports shall
include review for completeness and procedural errors, as well as review of the
substantive content. If the use of force report does not comply with provision
3 l .d. of this Agreed Order, the shift commander shall return it to the reporting
officer for revision and resubmission until it is compliant. if the shift commander
believes a use of force may have been inappropriate or excessive, he or she shall
immediately refer the incident for investigation.

f. CCDOC shall ensure that senior management review of uses of force includes:

(l) a timely review of medical documentation of inmate injuries, if any is
submitted, as provided by Qualified Medical Staff, including
documentation surrounding the initial medical encounter, an anatomical
drawing that depicts the areas of sustained injury, and information
regarding any further medical care;

(2) the inmate disciplinary report, if any, associated with the use of force; and
(3) the incident report, if any, associated with the use of force.

g. CCDOC shall establish criteria that trigger referral for inappropriate or excessive
use of force investigations, including but not limited to, documented or known
injuries that are extensive or serious; injuries involving fractures or head trauma;
injuries of a suspicious nature (including black eyes, injuries to the mouth,
injuries to the genitals, etc.); and injuries that require treatment at outside
hospitals

h. When CCDOC review of use of force reports, and supporting records if
applicable, reveals that reports of a use of force are materially inconsistent,
conflicting, or suspicious, CCDOC shall refer that use of force incident for
internal investigation.

i. CCDOC shall develop and implement a system to track all incidents of use of
force that, at a minimum, includes the following information:

 

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(l) a tracking number;

(2) the inmate(s) name;

(3) housing assignment;

(4) date;

(5) type of incident;

(6) injuries (if applicable);

(7) medical care provided (if applicable);
(8) staff involved;

(9) reviewing supervisor;

(10) external reviews and results (if applicable);
(11) remedy taken (if appropriate); and
(12) administrative si gn-off`.

j. CCDOC shall ensure that, promptly following a use of force incident, video or
photographs are taken of any and all reported or apparent injuries sustained by
inmates and staff. The video or photographs will be maintained and will be
included in the investigation package, if applicable

k. CCDOC shall establish an “early warning system” that will document and track
correctional officers who are involved in use of force incidents and any
complaints related to the inappropriate or excessive use of force, in order to alert
CCDOC administration to any potential need for retraining, discipline,
problematic policies, or supervision lapses. Appropriate CCDOC leadership,
supervisors, and investigative staff shall have access to this information and
monitor the occurrences. CCDOC senior management shall use information from
the early warning system to improve quality management practices, identify
patterns and trends, and take necessary corrective action both on an individual and
systemic level. `

l. CCDOC shall ensure that a supervisor is present during all pre-planned uses of
force, such as cell extractions.

m. Where there is evidence of staff misconduct related to inappropriate or
unnecessary use of force against inmates, CCDOC shall initiate personnel actions
and seek disciplinary action appropriately for any correctional officer found to
have:

(l) engaged in inappropriate or excessive use of force;

(2) failed to report or report accurately the use of force;
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(3) retaliated against an inmate or other staff member for reporting an
inappropriate or excessive use of force; or

(4) interfered or failed to cooperate with an internal investigation regarding
use of force in a manner inconsistent with the staff member’s statutory or
contractual rights.

n. Where there is evidence of staff misconduct related to inappropriate or
unnecessary use of force against inmates, CCDOC shall consider, develop, and
initiate systemic remedies as appropriate.

0. CCDOC shall maintain accountability policies and procedures for the effective
and accurate maintenance, inventory, and assignment of chemical and other
security equipment, in accordance with generally accepted correctional standards

p. CCDOC shall continue to conduct use of force training in accordance with
generally accepted correctional standards, including:

(l) CCDOC shall maintain an effective and comprehensive use of force
training program.

(2) CCDOC shall continue to ensure that correctional officers receive
adequate training in CCDOC’s use of force policies and procedures,
including de-escalation and defensive tactics relating to use of force.

(3) CCDOC shall continue to ensure that correctional officers receive pre-
service and in-service training on reporting use of force and completing
use of force reports.

q. CCDOC shall provide a process for inmates to report allegations of the
inappropriate or excessive use of force orally to any CCDOC staff member; said
staff member shall give the inmate the opportunity to reduce his or her report to
writing through a grievance or complaint form without discouragement

r. Following a use of force, when CCDOC staff transport an inmate to receive
medical care by Cermak, as necessary, the CCDOC staff member shall inform the
Cermak staff member that the inmate was involved in a use of force,

s. Cennak shall ensure that, when providing medical treatment or assessment to an

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inmate following a use of force, Qualified Medical Staff document the inmate’s
injuries, if any, and any medical care provided Cermak shall provide CCDOC
senior management with a brief summary documenting the initial medical
encounter following a use of force, including an anatomical drawing that depicts
the areas of sustained' injury, if any, and information regarding any further
medical care.

Cermak shall ensure that Qualified Medical Staff question, outside the hearing of
other inmates or correctional officers if appropriate, each inmate who reports for
medical care with an injury, regarding the cause of the injury. If, in the course of
the inmate’s medical encounter, a health care provider suspects staff-on-inmate or
inmate-on-inmate abuse, that health care provider shall immediately:

(l) report the suspected abuse to the Executive Director of the Office of
Professional Review or other appropriate CCDOC administrator; and

(2) adequately document the matter in the inmate’s medical record.

32. Safety and Supervision

El.

CCDOC shall maintain security and control-related policies, procedures, and
practices that will result in a reasonably safe and secure environment for all
inmates and staff, in accordance with generally accepted correctional standards

CCDOC shall maintain policies, procedures, and practices to ensure the adequate
supervision of inmate work areas and trustees, in accordance with generally
accepted correctional standards

CCDOC shall ensure that security staff conduct appropriate rounds with sufficient
frequency to provide inmates with reasonable safety. Rounds shall be conducted
at least once every half hour, at irregular intervals, inside each housing unit. In
the altemative, CCDOC may provide direct supervision of inmates by posting a
correctional officer inside the day room area of a housing unit to conduct constant
surveillance More frequent rounds shall be conducted for special management
inmates who require more intensive supervision for security and safety reasons.
All security rounds shall be documented on forms or logs that do not contain pre-
printed rounding times. Video surveillance may be used to supplement, but must
not be used to replace, rounds by correctional officers.

CCDOC shall ensure that security supervisors conduct daily rounds in the inmate
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housing units, and document the results of their inspections

e. Cook County shall increase the use of overhead video surveillance and recording
cameras to provide adequate coverage throughout the common areas of the
Facility, including the RCDC, all division intake areas, mental health units,
special management units, inmate housing units, and in common areas of the
divisions

f. CCDOC shall maintain a procedure to prevent inmates from possessing or having
access to dangerous contraband, including conducting regular inspections of cells
and common areas of the housing units to identify and prevent rule violations by
inmates,

gv CCDOC shall review, and revise as applicable, all General Orders (“GOs”),
Standard Operating Procedures (“SOPs”), and Post Orders on an annual basis, or
more frequently as needed.

h. CCDOC shall revise policies, SOPs, and post orders for all armed posts to include
proper use and safe handling of weapons and provide specific instructions on use
of deadly force and when and under what circumstances such force should be
used, in accordance with generally accepted correctional standards

i. CCDOC shall standardize security policies, procedures, staffing reports, and post
analysis reports across the divisions, to the extent possible, taking into account the
different security levels and different physical layouts in the various divisions

j. CCDOC shall provide formal training on division-specific SOPs to correctional
officers in accordance with their assignments and shall provide further
specialized training for officers assigned to Special Management Units. Cermak
Hospital shall provide Specialized training for officers assigned to psychiatric
unlts.

k. CCDOC shall maintain in working order all monitoring equipment at the Facility
that is under CCDOC’s direct control, including cameras, alarms, radios (hand
held), interior and exterior lighting,,x-ray and other screening equipment, and
walk-through metal detectors."To'the extent that the maintenance of any Facility
monitoring equipment is under the control of DFM, CCDOC shall promptly
report any maintenance needs and DFM shall prioritize its services to ensure that
all monitoring equipment is maintained in working order.

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33.

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Absent exigent circumstances CCDOC: (i) shall house each inmate assigned to a
division that is celled to one permanent bed in a cell and shall not house any
inmates (including those assigned to dormitory divisions) such that they are
sleeping on the floor, on a mattress on the floor, or in any area not designed or
redesigned as sleeping quarters; (ii") shall not house more than two inmates to a
single cell (triple-bunking); and (iii) shall not hot-bunk any inmates

When exigent circumstances give rise to triple-bunking, CCDOC shall provide
the third inmate in the triple-bunked cell a “boat,” stackable bunk, moveable
platform, or cot, so that the inmate is not required to lay down directly on the cell
floor or on a mattress on the floor.

Security Staffing. The parties agree that correctional officer staffing and supervision
levels at the Facility must be appropriate to adequately supervise inmates, to carry out the
requirements of this Agreed Order, and to allow for the safe operation of the Facility,
consistent with generally accepted correctional standards Cook County and CCDOC
shall take such actions as shall ensure that correctional officer staffing and supervision at
the Facility are sufficient to achieve these purposes These actions shall include the
following:

a.

ln the fiscal year 2010 budget, Cook County shall allocate funds sufficient to
allow for 210 additional correctional officer positions at the Facility, Consistent
with provision 33.c, such funding may occur on a rolling basis, as appropriate in
light of the time required to hire, train, and put on duty the additional 210 new
correctional officers § _

CCDOC shall use its best efforts (through the maintenance of the written staffing
plan required by provision 33.h and otherwise) to ensure that the number of
correctional officer vacancies is kept to the minimum practicable number at all
times, taking into account that the timing of terminations and resignations and the
resulting rate of attrition may, in ordinary course, result in there being some
vacancies at any given time.

CCDOC shall fill the 210 additional correctional officer slots provided for in
provision 33.a; fill the 285 correctional officer vacancies that existed at the
Facility as of July 17, 2009; and fill any correctional officer vacancies coming
into existence after that date in the following manner:

i. By December 31, 2010, CCDOC shall hire, train, and put on duty at the
Facility at least 448 newly qualified correctional officers (in addition to

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those on duty as of December 31, 2009).

ii. By March 30, 2011, CCDOC shall hire, train, and put on duty at the
Facility at least 174 newly qualified correctional officers (in addition to
those on duty as of December 31, 2010).

d. The parties agree that for 30 months following the effective date of this Agreed
Order, Cook County and CCDOC shall not be required to provide additional
correctional officer staffing and supervision at the Facility beyond that which is
necessary to ensure that correctional officer staffing and supervision are sufficient
to achieve the purposes set out in the introductory paragraph of provision 33 and
to comply with provisions 33.a-c above.

e. Within 30 months of the effective,date of this Agreed Order, the CCDOC Monitor
shall assess and make a recommendation on whether the correctional officer
staffing and supervision levels are appropriate to adequately supervise inmates at
the Facility, in accordance with generally accepted correctional standards Ifthe
CCDOC Monitor determines that staffing is inadequate, the CCDOC Monitor will
make a recommendation regarding the appropriate number of correctional officer
staff If the parties do not accept the CCDOC Monitor’s staffing
recommendation, CCDOC and Cook County shall agree to an independent,
comprehensive study to determine the appropriate correctional officer staffing and
supervision. The parties agree that the results of this staffing study shall provide
guidance as to the sufficient number of qualified correctional officers necessary to
operate the Facility safely and to carry out the requirements of this Agreed Ordcr.

f. If the staffing study requires additional correctional officers, Cook County shall
allocate funds sufficient to maintain correctional officer staffing levels necessary
to carry out the requirements of this Agreed Order and to allow for the safe
operation of the Facility, consistent with generally accepted correctional
standards

g. If the staffing study requires additional correctional officers, and consistent with
Cook County’s allocation of funds for security staffing, CCDOC shall hire and
train sufficient number of qualified correctional officers and other staff to carry
out the requirements of this Agreed Order and to allow for the safe operation of
the Facility, consistent with generally accepted correctional standards, including:

(l) Investigative staffing sufficient to meet the internal investigation
responsibilities outlined in this Agreed Order;

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(2) Correctional officer staffing sufficient to provide inmates requiring
treatment with adequate access to appropriate medical and mental health
care by providing timely movement of inmates to medical units, transport
of inmates who have been referred for outside specialty care, and escort, if
necessary, to Qualified Medical and Mental Health Staff on housing units;
and

(3) Qualified staff sufficient to monitor security cameras in real time and
allow for supervisory viewing and retrieving at any time.

h. CCDOC shall maintain a written staffing plan that requires sufficient staffing to
carry out the requirements of this Agreed Order and to allow for the safe
operation of the Facility, consistent with generally accepted correctional
standards

i. Absent exigent circumstances CCDOC shall maintain a practice that does not
allow for scheduled, planned, or expected cross-watching (a CCDOC practice of
allowing one correctional officer to simultaneously supervise two housing units
from the control center of one of the units) at any time on all maximum security
and Special Management Units, and during first and second shifts throughout the
Facility.

j. CCDOC may permit cross-watching on third shift in housing units that are not
maximum security or Special Management Units only if the Monitor does not
object after consultation and review. The Monitor’s review of the appropriateness
ofthird-shift cross-watching on a particular housing unit shall be guided by the
sufficiency of sightlines between the units being cross-watched, the adequacy of
video and/or audio technologies in place, and/or other factors that bear on the
safety and security of inmates and staff. If the Monitor later objects to any cross-
watching that is in effect because of the Monitor’s concerns that cross-watching
on a particular housing unit presents an undue risk to the safety and security of
inmates and staff`, CCDOC shall immediately cease such cross-watching
CCDOC may renew cross-watching on that unit again if, after further consultation
with and review by the Monitor, the Monitor does not object to such renewal.
Although cross-watching is permitted under the limited circumstances described
herein, CCDOC will work to eliminate the practice at the Facility.

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34. Incidents and Referrals

a.

CCDOC shall continue to ensure that staff adequately and promptly document all
reportable incidents, including inmate fights, rule violations, inmate injuries,
suicides and suicide attempts, cell extractions, medical emergencies, contraband,
vandalism, escapes and escape attempts, fires, and other incidents causing a
disruption to standard CCDOC practice, in accordance with generally accepted
correctional standards

CCDOC shall continue to ensure that correctional officers receive formal pre-
service and in-service training on proper incident reporting policies and
procedures, in accordance with generally accepted correctional standards

CCDOC shall maintain a system to track all reportable incidents (as described in
provision 34.a) that, ata minimum, includes the following information:

(l) incident tracking number;

(2) the inmate(s) name;

(3) housing assignment;

(4) date;

(5) type of incident;

(6) injuries (ifapplicable);

(7) medical care (if applicable);

(8) primary and secondary staff involved;
(9) reviewing supervisor;

(10) external reviews and results (if applicable);
(11) remedy taken (if appropriate); and
(12) administrative sign-of`f.

CCDOC shall require prompt administrative review of incident reports Such
reviews shall include a case-by-case review of individual incidents as well as a
systemic review in order to identify patterns of incidents CCDOC shall
incorporate such information into quality management practices and take
necessary corrective action,

CCDOC shall ensure that incident reports, use of force reports and inmate

grievances are screened for allegations of staff misconduct and, if the incident or
allegation meets established criteria, that it is referred for investigation.

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CCDOC shall maintain policies, procedures and practices requiring investigations
to resolve issues identified during review of incident reports, disciplinary
hearings, or inmate grievances, and determine appropriate remedies, in
accordance with generally accepted correctional standards At a minimum,
CCDOC shall require timely and appropriate investigations of all suicides, serious
suicide attempts, inmate-on-inmate violence resulting in serious injury, inmate-
on-staff violence, inmate injuries requiring treatment by an outside hospital,
inmate injuries of a suspicious nature (including black eyes, injuries to the mouth,
injuries to the genitals, etc.), sexual misconduct between inmates, sexual
misconduct involving staff, fires, escapes, escape attempts, and deaths

CCDOC shall ensure that any investigation reports indicating possible criminal
behavior will be referred to the appropriate law enforcement authority.

35. Investigations

Investigations at the Facility are conducted by independent departments under the Cook
County Sheriff’s Office, including the Office of Professional Review, the Criminal
Investigations Unit, and the Sheriff"s Police Department The Cook County Sheriff will assume
responsibility for requiring these investigatory units to comply with the relevant provisions of
this Agreed Order -

a.

CCDOC shall maintain comprehensive policies, procedures, and practices for the
timely and thorough investigation of alleged staff misconduct, in accordance with
generally accepted correctional standards

Internal investigations shall be conducted by persons who do not have supervisory
responsibility for the staff member(s) being investigatedl

CCDOC shall ensure that all internal investigations will include timely, thorough,
and documented interviews of all relevant staff and inmates who were involved
in, or witnessed, the incident in question.

CCDOC shall ensure that internal investigation reports shall include all
supporting evidence, including witness and participant statements policies and
procedures relevant to the incident, physical evidence, video or audio recordings,
and relevant logs.

CCDOC shall ensure that all investigatory staff will receive pre-service and in-
service training on appropriate investigations policies and procedures, the

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investigations tracking process, investigatory interviewing techniques, and
confidentiality requirements

f. CCDOC shall provide all investigators who will be assigned to conduct
investigations of use of force incidents with specialized training in investigating
use of force incidents and allegations

g. CCDOC shall ensure that the results of each internal investigation shall be
documented in an investigation report. CCDOC administration shall review the
investigation reports, along with the underlying documentation, and take
appropriate action. CCDOC shall implement appropriate remedies based upon
the results of internal investigations

36. Inmate Disciplinary Process

a. CCDOC shall maintain policies, procedures, and practices for a formal
disciplinary process, including prompt issuance of written disciplinary citations,
administrative review and disciplinary reports for alleged minor rule violations,
and due process for alleged major rules violations in accordance with generally
accepted correctional standards

b. CCDOC shall ensure that inmate disciplinary hearings are conducted in a
reasonably private and secure setting

c. CCDOC shall ensure that all inmates placed in lock down status are provided with
appropriate due process that has been developed and implemented in policies and
procedures, in accordance with generally accepted correctional standards In an
emergency, the Executive Director of CCDOC may order a lock down of entire
areas of the Facility in order to control the situation and address serious security
concems. In such circumstances it is not necessary to provide disciplinary
hearings to each inmate affected by _the lock down. However, lock downs of this
nature shall be limited to only'th’e time and scope necessary to address the
emergency. For the purposes of this Agreed Order, a “lock down” shall not
include the routine instances in which inmates are confined to their cells,
including periods of count, over night, shift change, movement, and routine
contraband sweeps

d. CCDOC shall ensure that the disciplinary board’s written record accurately
reflects the testimony and discussion from the disciplinary hearing, including any
recommendations from a mental health professional regarding the extent to which

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disciplinary charges are related to an inmate’s serious mental illness or
suggestions for minimizing the deleterious effect of disciplinary measure on the
mental health status of the inmate.

e. CCDOC shall alert Cermak when inmates are placed in disciplinary segregation
or protective custody.

f. CCDOC shall permit a Cermak Qualified Mental Health Staff` member to serve on
the disciplinary board.

37. Classification

 

a. CCDOC shall maintain policies and procedures for an appropriate, objective
classification system that separates inmates in housing units by classification
levels in order to protect inmates from unreasonable risk of harm. The system
shall include consideration of an inmate’s security level, severity of current
charge, types of prior commitments suicide risk, history of escape attempts
history of violence, and special needs CCDOC shall use best efforts to anticipate
periods of unusual intake volume and schedule sufficient classification staff to
timely classify inmates

b. CCDOC shall ensure that classification staff have sufficient access to current
information regarding cell availability on each division.

c. CCDOC shall include information on each inmate’s assignment to the Special
lncarceration Unit “level system” at the Facility in the new Jail Management
System, starting with the date the new Jail Management System becomes
operational.

d. CCDOC shall provide training and access to all correctional officer supervisors
on the full capabilities of the new lail Management System’s classification and
inmate tracking system (or any replacement system).

e. CCDOC shall provide ongoing internal and external review and validation of the
inmate classification system to ensure its reliability and objectivity.

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lnmate Grievance Procedure

CCDOC shall maintain policies and procedures to ensure inmates have access to
an adequate grievance process and to ensure that grievances may be accessed and
filed confidentially, without requiring the intervention of a correctional officer, in
accordance with generally accepted correctional standards These policies and
procedures should be applicable and standardized across all the Facility divisions

CCDOC shall ensure that the grievances receive appropriate follow-up, including
informing the grievant of the outcome, providing a timely written response, and
tracking implementation of resolutions

CCDOC shall ensure that grievance forms are available on all units and are
available in Spanish. CCDOC shall ensure that there is adequate opportunity for
illiterate inmates and inmates who have physical or cognitive disabilities to access
the grievance system.

CCDOC shall ensure that inmate grievances are screened for allegations of staff
misconduct and, if the incident or allegation meets established criteria, are
referred for investigation. A member of the management staff shall review the
grievance tracking system regularly in order to identify areas of concem.

Access to Information

CCDOC shall ensure that newly admitted inmates receive information, through an
inmate handbook or orientation video, regarding the following areas: facility
rules and regulations; how to report misconduct; how to report sexual abuse or
assault; the process for accessing medical and mental health care; emergency
procedures; rules for sending and receiving mail; the visitation process; facility
schedule; the disciplinary process; and how to seek redress of grievances

CCDOC shall ensure that materials on facility rules and services are available for
non-literate and non-English speaking inmates

CCDOC shall provide training and supervision to all correctional officers and supervisors
sufficient to implement the provisions of this Agreed Order.

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HEALTH CARE SERVICES: ELEMENTS COMMON TO MEDICAL AND
MENTAL HEALTH

Inter-Agency Agreement

a.

CCDOC shall enter into a written lnter-Agency Agreement with Cermak that
delineates the mutual responsibilities of each party, relative to the provision of
health care to inmates at the Facility, The Inter-Agency Agreement shall be
finalized within 60 days of the effective date of this Agreed Order.

Cermak shall enter into a written Inter-Agency Agreement with CCDOC that
delineates the mutual responsibilities of each party, relative to the provision of
health care to inmates at the Facility. The Inter-Agency Agreement shall be
finalized within 60 days of the effective date of this Agreed Order.

Cermak shall provide adequate services to address the serious medical and mental health

needs of all inmates, in accordance with generally accepted professional standards The
term “generally accepted professional standards” means those industry standards
accepted by a majority of professionals in- the relevant field, and reflected in the standards
of care such as those published by the National Commission on Correctional Health Care
(“NCCI-IC”).

El.

Cermak shall develop and implement medical care policies, procedures, and
practices to address and guide all medical care and services at the Facility,
including, but not limited to the following:

(l) access to medical care;

(2) continuity of medication;

(3) infection control;

(4) medication administration',

(5) intoxication and detoxification;

(6) documentation and record-keeping;
(7) disease prevention;

(8) sick call triage and physician review;
(9) intake screening;

(10) chronic disease management;

(l 1) comprehensive health assessments;
(12) mental health;

(13) women’s health; s _ _

(14) quality management " ` ‘

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(15) emergent response;

(16) infirmary care;

(17) placement in medical housing units;

(18) handling of grievances relating to health care;
(19) mortality review; and

(20) care for patients returning -from off-site referrals

b. Cermak shall develop and implement policies, procedures, and practices to ensure
timely responses to clinician orders including, but not limited to, orders for
medications and laboratory tests Such policies, procedures, and practices shall be
periodically evaluated to ensure timely implementation of clinician orders

43. Medical Facilities

a. CCDOC will work with Cermak to provide sufficient clinical space, as identified
by Cermak staff, to provide inmates with adequate health care to meet the
treatment needs of detainees including:

(l) intake screening;

(2) sick call;

(3) medical and mental health assessment;

(4) acute, chronic, emergency, and specialty medical care (such as geriatric
and pregnant inmates); and

(5) acute, chronic, and emergency mental health care.

b. Cermak staff shall make known to _CCDOC and Cook County its needs for
sufficient clinical space, with access to appropriate utility and communications
capabilities to provide inmates with adequate health care to meet the treatment
needs of detainees, including:

(1) intake screening;

(2) sick call;

(3) medical and mental health assessment;

(4) acute, chronic, emergency, and specialty medical care (such as geriatric
and pregnant inmates); and

(5) acute, chronic, and emergency mental health care.

c. Cook County shall build out, remodel, or renovate clinical space as needed to
provide inmates with adequate health care to meet the treatment needs of
detainees as identified by Cermak staff, including:

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(l) intake screening;

(2) sick ca|l;

(3) medical and mental health assessment;

(4) acute, chronic, emergency, and specialty medical care (such as geriatric
and pregnant inmates); and

(5) acute, chronic, and emergency mental health care.

d. Cermak shall ensure that medical areas are adequately clean and maintained,
including installation of adequate lighting in medical exam rooms Cermak shall
ensure that hand washing stations in medical areas are fully equipped, operational,
and accessible

e. Cermak shall ensure that appropriate containers are readily available to secure and
dispose of medical waste (including syringes and sharp medical tools) and
hazardous waste.

f. CCDOC shall allow operationally for inmates’ reasonable privacy in medical and
mental health care, and shall respect the confidentiality of inmates’ medical
status, subject to legitimate security concerns and emergency situations
Reasonable privacy typically includes sight and hearing privacy from other
inmates and hearing privacy from staff that are not providing health care.

g. Cermak shall make known to CCDOC and Cook County the structural and
operational requirements for inmates’ reasonable privacy in medical and mental
health care. Cermak shall provide operationally for inmates’ reasonable privacy
in medical and mental health care and shall maintain confidentiality of inmates’
medical status, subject to legitimate security concerns and emergency situations
Reasonable privacy typically includes sight and hearing privacy from other
inmates and hearing privacy from staff that are not providing health care.

h. Cook County shall build out, remodel, or renovate clinical space as needed to
allow structurally for inmates’ reasonable privacy in medical and mental health
care, as identified by Cermak and CCDOC staff.

i. Cook County shall begin construction of the new clinical space within three
months of the effective date of this Agreed Order. It is expected that the project
will be complete within nine months of the effective date of this Agreed Order.
Prior to completion of the new clinical space, Cook County and DFM will work
with Cermak to address the most serious concerns regarding clinical space, to the

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extent possible in the current Facility.

Staffing, Training, Supervision, and Leadership

Cermak shall maintain a stable leadership team that clearly understands and is
prepared to move forward toward:imp|ementation of the provisions of this Agreed
Order, with respect to: `

(l) Medical care; and
(2) Mental health care.

Cermak shall maintain an adequate written staffing plan and Sufficient staffing
levels of health care staff to provide care for inmates’ serious health needs,
including:

(l) Qualified Medical Staff; and
(2) Qualified Mental Health Staff.

Cermak shall ensure that all Qualified Medical Staff and Qualified Mental Health
Staff are adequately trained to meet the serious health care needs of inmates All
such staff shall receive documented orientation and in-service training on relevant
topics, including:

(I) Provision of health care in a correctional setting and Facility-specific
issues; and

(2) Suicide prevention, and identification and care of inmates with mental
illness " "

Cermak shall ensure that Qualified Medical Staff receive adequate physician
oversight and supervision.

Cermak shall ensure that all persons providing health care meet applicable state
licensure and/or certification requirements and practice only within the scope of
their training and licensure. Upon hiring and annual|y, Cermak shall verify that
all health care staff have current, valid, and unrestricted professional licenses
and/or certifications for:

(l) Medical staff; and
(2) Mental health staff.

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f. Cermak will work with CCDOC to develop and maintain a curriculum for initial
and periodic training of correctional officers on recognition and timely referral of
inmates with medical urgencies, including drug and alcohol withdrawal. Cermak
will provide adequate initial and periodic training on these topics to all Cermak
staff who work with inmates

g. CCDOC will provide, to all CCDOC staff who work with inmates, adequate
initial and periodic training on basic mental health information, including the
identification, evaluation, and custodial care of persons in need of mental health
care, as well as recognition of` signs and symptoms evidencing a response to
trauma; appropriately responding to mental illness; proper supervision of inmates
suffering from mental illness; and the appropriate use of force for inmates who
suffer from mental illness Such training shall be conducted by a Qualified
Mental Health Professiona|, registered psychiatric nurse, or other appropriately
trained and qualified individual

h. Cermak will work with CCDOC to develop and maintain a curriculum for initial
and periodic training of correctional officers on basic mental health information,
including the identification, evaluation, and custodial care of persons in need of
mental health care, as well as recognition of signs and symptoms evidencing a
response to trauma; appropriately responding to mental illness; proper supervision
of inmates suffering from mental illness; and the appropriate use of force for
inmates who suffer from mental illness Such training shall be conducted by a
Qualified Mental Health Professional, registered psychiatric nurse, or other
appropriately trained and qualified individual

g. Cermak shall ensure that all health care staff receive adequate training to properly
implement the provisions of this Agreed Order, including:

(1) Medical staff; and
(2) Mental health staff`.

45. Intake Screening

a. Cermak shall maintain policies and procedures to ensure that adequate medical
and mental health intake screenings-are provided to all inmates

b. Cermak shall ensure that, upon admission to the Facility, Qualified Medical Staff
or Licensed Correctional l'viedical Technicians utilize an appropriate medical
intake screening instrument to identify and record observable and non-observable

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medical needs shall assess and document the inmate’s vital signs and shall seek
the inmate’s cooperation to provide information, regarding:

(l) medical, surgical, and mental health history, including current or recent
medications including psychotropic medications;

(2) history and symptoms of chronic disease, including current blood sugar
level for inmates reporting a history of diabetes;

(3) current injuries illnesses evidence oftrauma, and vital signs including
recent alcohol and substance use;

(4) history of substance abuse and treatment;

(5) pregnancy;

(6) history and symptoms of communicable disease;

(7) suicide risk history; and

(8) history of mental illness and treatment, including medication and
hospitalization

c. Cermak shall ensure that, upon admission to the Facility, Qualified Mental Health
Staff`, Qualified Medical Staff, or Licensed Correctional Medical Technicians
utilize an appropriate mental health intake screening instrument to identify and
record observable and non-observable mental health needs and seek the inmate’s
cooperation to provide information, regarding:

(l) past suicidal ideation and/or attempts;

(2) current ideation, threat, or'plan;

(3) prior mental illness treatment or hospitalization;

(4) recent significant loss such as the death of a family member or close
friend;

(5) previously identified suicide risk during any prior confinement at
CCDOC;

(6) any observations of the transporting officer, court, transferring agency, or
similar individuals regarding the inmate’s potential suicide risk, if such
information is communicated to Cermak staff;

(8) psychotropic medication history; and

(9) alcohol and other substance use and withdrawal history.

d. Cermak shall ensure that all Qualified Mental Health Staff, Qualified Medical
Staff, or Licensed Correctional Medical Technicians who conduct the medical and
mental health intake screenings are properly trained on the intake screening
process instrument, and the requirements and procedures for referring all
qualifying inmates for further assessment

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e. if Cermak assigns Licensed Correctional Medical Technicians to perform intake
screening, they shall receive appropriate, on-site supervision by on-site Qualified
Medical Staff; information obtained on screening for all inmates will be reviewed
by Qualified Medical Staff before the inmate departs the intake area.

f. Cermak shall ensure that a medical assessment based on the symptoms or
problems identified during intake screening is performed within two working days
of booking attire Facility, or sooner if clinically indicated, by a Qualified Medical
Professional for any inmate who screens positively for any of the following
conditions during the medical or mental health intake screenings:

(l) Past history and symptoms of any chronic disease included on a list
specified by Cermak’s policies and procedures

(2) Current or recent presciription medications and dosage, including
psychotropic medications

(3) Current injuries or evidence oftrauma;

(4) Significantly abnormal vital signs as defined by Cermak’s policies and
procedures

(5) Risk of withdrawal from alcohol, opioid, benzodiazepine, or other
substances

(6) Pregnancy;

(7) Symptoms of communicable disease; and

(8) History of mental illness or treatment, including medication and/or
hospitalization

g. Cermak shall ensure that any inmate who screens positively for mental illness or
suicidal ideation during the intake process receives a comprehensive mental
health evaluation (see provision 59.c, “Mental Health: Assessment and
Treatment”) Cermak shall ensure timely access to a Qualified Mental Health
Professional for this purpose, based on emergent, urgent, and routine medical or
mental health needs

h. Cermak shall ensure that the intake__health screening information is incorporated
into the inmate’s medical record in` a timely manner.

i. Cermak shall implement a medication continuity system so that incoming
inmates’ medication for serious medical and mental needs can be obtained in a
timely manner, as medically appropriate. Within 24 hours of an inmate’s booking
at the Facility, or sooner if medically necessary, a Qualified Medical Professiona|

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46.

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a.

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or Qualified Mental Health Professiona|, with appropriate prescribing authority,
shall decide whether to continue the same or comparable medication for serious
medical and mental health needs that an inmate reports during intake screening
that she or he has been prescribed If` the inmate’s reported medication is
discontinued or changed, other than minor dosage adjustments or substitution of a
therapeutic equivalent, a Qualified Medical Professional or Qualified Mental
Health Professional, with appropriate prescribing authority, shall evaluate the
inmate face-to-face as soon as medically appropriate, and within no greater than
five working days and document the reason for the change.

Emergency Care

Cermak shall train health care staff to recognize and respond appropriately to
health care emergencies including:

(l) Medical emergencies
(2) Mental health emergencies; and
(3) Drug and alcohol withdrawal.

CCDOC shall train correctional officers to recognize and respond appropriately to
health care emergencies including:

(l) Medical emergencies; `_
(2) Mental health emergencie`sf and
(3) Drug and alcohol withdrawal.

CCDOC shall ensure that all inmates with emergency health care needs receive
prompt transport, including transport for outside care, for emergencies includingl

(l) Medical emergencies and
(2) Mental health emergencies

Cermak shall ensure that all inmates with emergency health care needs receive
timely and appropriate care, with prompt referrals for outside care when
medically necessary, and shall notify CCDOC when emergency transport is
needed inside or outside the Facility compound, for emergencies includingl

( l) Medical emergencies and
(2) Mental health emergencies

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e. CCDOC shall train all correctional officers to provide first responder assistance
(including cardiopulmonary resuscitation (“CPR”) and addressing serious
bleeding) in emergency situations CCDOC shall provide all correctional officers
with the necessary protective gear, including masks and gloves to provide first
line emergency response. `

47. Record Keeping

a. Cermak shall ensure that medical and mental health records are adequate to assist
in providing and managing the medical and mental health needs of inmates at the
Facility and are maintained consistent with local, federal, and state medical
records requirements

b. Cermak shall ensure that medical and mental health records are centralized,
complete, accurate, readily accessible, and systematically organizedl All clinical
encounters and reviews of inmates should be documented in the inmates’ records

c. To ensure continuity of care, Cermak shall submit appropriate medical
information to outside medical providers when inmates are sent out of the Facility
for medical care. Cermak shall appropriately request records of care, reports and
diagnostic tests received during outside appointments in a timely fashion and
include such records in the inmate’s medical record or document the inmate’s
refusal to cooperate and release medical records

d. Cermak shall maintain unified medical and mental health records including
documentation of all clinical information regarding evaluation and treatment

48. Mortality Reviews

a. Cermak shall request an autopsy, and related medical data, for every inmate who
dies while in the custody of CCDOC, including inmates who die following
transfer to a hospital or emergency room.

b. Relevant CCDOC personnel shall participate in Cermak’s mortality review for
each inmate death while in custo..d},{,l including inmates who die following transfer
to a hospital or emergency roo'r'n’, and a morbidity review for all serious suicide
attempts or other incidents in which an inmate was at high risk for death.
Mortality and morbidity reviews shall seek to determine Whether there was a
systemic or specific problem that may have contributed to the incident. At a
minimum, CCDOC’s contribution to mortality and morbidity reviews shall

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include:

(l) critical review and analysis_\of the correctional circumstances surrounding
the incident; ` :'

(2) critical review of the correctional procedures relevant to the incident;

(3) synopsis of all relevant training received by involved correctional staff;

(4) possible precipitating correctional factors leading to the incident; and

(5) recommendations if any, for changes in correctional policy, training,
physical plant, and operational procedures

Cermak shall conduct a mortality review for each inmate death while in custody,
including inmates who die following transfer to a hospital or emergency room,
and a morbidity review for all serious suicide attempts or other incidents in which
an inmate was at high risk for death. Cermak shall engage relevant CCDOC
personnel in mortality and morbidity reviews and shall seek to determine whether
there was a pattern of symptoms that might have resulted in earlier diagnosis and
intervention. Mortality and morbidity reviews shall occur within 30 days of the
incident or death, and shall be revisited when the final autopsy results are
available. At a minimum, the mortality and morbidity reviews shall include:

(l) critical review and analysis of the circumstances surrounding the incident;

(2) critical review of the procedures relevant to the incident;

(3) synopsis of all relevant training received by involved staff;

(4) pertinent medical and mental health services/reports involving the victim;

(5) possible precipitating factors leading to the incident; and

(6) recommendations if any; for changes in policy, training, physical plant,
medical or mental health services and operational procedures

Cermak shall address any problems identified during mortality and morbidity
reviews through timely training, policy revision, and any other appropriate
measures

Cermak shall develop and implement policies and procedures for appropriate handling of
grievances relating to health care, when such grievances are forwarded from CCDOC.

MEDICAL CARE

Health Assessments

Cermak shall ensure that Qualified Medical Professionals attempt to elicit the
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amount, frequency and time since the last dosage of medication from every
inmate reporting that he or she is currently or recently on medication including
psychotropic medication

b. Cermak shall ensure that incoming inmates who present and are identified by
medical personnel as having either a current risk of suicide or other acute mental
health needs will be immediately referred for a mental health evaluation by a
Qualified Mental Health Professional. Staff will constantly observe such inmates
until they are seen by a Qualified Mental Health Professional or Qualified Mental
Health Staff with appropriate, on-s_ite supervision by a Qualified Mental Health
Professional. lncoming inmates reporting these conditions will be housed in safe
conditions unless and until a Mental Health Professional clears them for housing
in a medical unit, segregation or with the general population

c. Cermak shall ensure that all inmates at risk for, or demonstrating signs and
symptoms of, drug and alcohol withdrawal are timely identified Cermak shall
provide appropriate treatment, housing, and medical supervision for inmates
suffering from drug and alcohol withdrawal.

d. CCDOC shall maintain a policy that correctional officers supervising newly
arrived inmates physically observe the conduct and appearance of these inmates
to determine whether they have a more immediate need for medical or mental
health attention prior to or following the intake health screening by Qualified
Medical Staff.

e. Cermak shall ensure that the medical assessment performed within two working
days of his or her booking at the Facility, or sooner if clinically indicated, for each
inmate specified above (provision 45.f, “Intake Screening”) shall include a review
of the inmate’s intake screening form, a medical history, a physical examination
a mental health history, and a current mental status examination The physical
examination shall be conducted by‘a Qualified Medical Professional. The
medical assessment shall also include development or revision of the inmate’s
problem list and treatment plan to address issues identified during the medical
assessment Records documenting the assessment and results shall become part
of each inmate’s medical record. A re-admitted inmate or an inmate transferred
from another facility who has received a documented medical assessment within
the previous six months and whose receiving screening shows no change in the
inmate’s health status need not receive a new medical assessment For such
inmates Qualified Medical Staff shall review prior records and update tests and
examinations as needed.

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Acute care

Cermak shall provide adequate and timely acute care for inmates with serious and
life-threatening conditions and ensure that such care adequately addresses the
serious medical needs of inmates Adequate care will include timely medical
appointments and follow-up medical treatment,

Cermak shall maintain guidelines for the scope of care of acutely ill patients in its
on-site designated infirmary units and for transfer of patients when appropriate to
outside hospitals

Chronic care

Cermak shall maintain an appropriate, written chronic care disease management
plan, which provides inmates with chronic diseases with timely and appropriate
diagnosis treatment, medication monitoring, and continuity of care consistent
with the inmates’ expected length of stay.

Cermak shall maintain appropriate written clinical practice guidelines for chronic
diseases such as HIV, hypertension diabetes asthma, and elevated blood lipids

Cermak shall maintain an updated registry to track all inmates with serious and/or
chronic illnesses and shall monitor this registry to ensure that these inmates
receive necessary diagnoses and treatment, Cermak shall keep records of all care
provided to inmates diagnosed with chronic illnesses in the inmates’ individual
medical records

Cermak shall ensure that inmates with chronic conditions are routinely seen by a
physician, physician assistant, or advanced practice nurse to evaluate the status of
their health and the effectiveness of the medication administered for their chronic
conditions

CCDOC shall house inmates with disabilities or who need skilled nursing
services or assistance with activities of daily living, in appropriate facilities as
determined by Cermak. CCDOC shall permit inmates with disabilities to retain
appropriate aids to impairment, as determined by Cermak.

Cermak shall ensure that inmates with disabilities or who need skilled nursing
services or assistance with activities of daily living shall receive medically

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appropriate care. Cermak shall notify CCDOC of their specific needs for housing
and aids to impairment

Cook County shall build out, remodel, or renovate clinical space as needed to
provide appropriate facilities for inmates with disabilities in accordance with the
timelines set out in provision 43.i. Prior to completion of the new clinical space,
Cook County and DFM will work with Cermak to address the most serious
concerns regarding facilities for inmates with disabilities, to the extent possible in
the current Facility. -

53. Treatment and Management of Communicable Disease

a.

Cermak shall maintain adequate testing, monitoring, and treatment programs for
management of communicable diseases, including tuberculosis (“TB”), skin
infections, and sexually transmitted infections (“STIs”).

CCDOC shall comply with infection control policies and procedures, as
developed by Cerrnak, that address contact, blood borne, and airborne hazards, to
prevent the spread of infections or communicable diseases, including TB, skin
infections, and STIs, consistent with generally accepted correctional standards of
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Cermak shall maintain infection control policies and procedures that address
contact, blood borne, and airborne hazards, to prevent the spread of infections or
communicable diseases, including TB, skin infections, and STIS, consistent with
generally accepted correctional standards of care. Such policies should provide
guidelines for identitieation, treatment, and containment to prevent transmission
of infectious diseases to staff or inmates,

Pursuant to Centers for Disease Control (“CDC”) Guidelines, Cermak shall
continue to test all inmates for TB upon booking at the Facility and shall follow
up on test results as medically indicated, Cermak shall follow current CDC
guidelines for management of inmates with TB infection, including providing
prophylactic medication when medically appropriate and consistent with the
inmate’s expected length of stay. Inmates who exhibit signs or symptoms
consistent with TB shall be isolated from other inmates, evaluated for contagious
TB, and housed in an appropriate, specialized respiratory isolation (“negative
pressure”) room. Cermak shall notify CCDOC of inmates’ specific housing
requirements and precautions for transportation for the purpose of infection
control.

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e. Cermak shall ensure that the negative pressure and ventilation systems function
proper|y. Following CDC guidelines, Cermak shall test daily for rooms in-use
and monthly for rooms not currently in~use. Cermak shall document results of
such testing

f. Cermak shall notify DFM, in a timely manner, of routine and emergency
maintenance needs, including plumbing, lighting, and ventilation problems

g. Cermak shall develop and implement adequate guidelines to ensure that inmates
receive appropriate wound care. Such guidelines will include precautions to limit
the possible spread of Methicillin-resistant Staphylococcus aureus (“MRSA”) and
other communicable diseases

h. Cermak shall adequately maintain statistical information regarding communicable
disease screening programs and other relevant statistical data necessary to
adequately identify, treat, and control infectious diseases.

Access to Health Care

a. CCDOC will work with Cermak to facilitate timely and adequate accessibility of
appropriate health care for inmates, as provided by Cermak.

b. Cermak shall ensure the timely and adequate availability of appropriate health
care for inmates,

c. Cermak shall ensure that the medical request (“sick call”) process for inmates is
adequate and provides inmates with adequate access to medical care. The sick
call process shall include:

(l) written medical and mental health care slips available in English, Spanish,
and other languages, as needed;

(2) opportunity for illiterate inmates and inmates who have physical or
cognitive disabilities to access medical and mental health care; and

(3) opportunity for all inmates, irrespective of primary language, to access
medical and mental healthcare

d. Cermak shali ensure that the sick call process includes confidential collection,
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logging, and tracking of sick call requests seven days a week. Cermak shall
ensure timely responses to sick call requests by Qualified Medical Staff. The
logging procedure shall include documentation of the date and summary of each
request for care, the date the inmate was seen the name ofthe person who saw
him or her, the disposition of the medical or mental health visit (e.g., referral;
whether inmate scheduled for acute care visit), and, if follow-up care is necessary,
the date and time of the inmate’s next appointment Cermak shall document the
reason for and disposition of the medical or mental health care request in the
inmate’s medical record.

Cermak shall develop and implement an effective system for screening medical
requests within 24 hours of submission Cermak shall ensure that sick call
requests are appropriately prioritized based upon the seriousness of the medical
issue.

Cermak shall ensure that evaluation and treatment of inmates in response to a sick
call request occurs in a clinical setting.

Cermak shall ensure that Qualified Medical Staff make daily rounds in the
isolation areas to give inmates in isolation adequate opportunities to contact and
discuss medical and mental health concerns with Qualified Medical Staff in a
setting that affords as much privacy as reasonable security precautions will allow.
During rounds, Qualified Medical Staff will assess inmates for new clinical
findings, such as deterioration of the inmate’s condition

55. Follow-Up Care

Ei.

Cermak shall provide adequate date and maintain appropriate records for inmates
who return to the Facility following hospitalization or outside emergency room
visits.

Cermak shall ensure that inmates who receive specialty, emergency room, or
hospital care are evaluated upon their return to the Facility and that, at a
minimum, discharge instructions are obtained, appropriate Qualified Medical
Staff reviews the information and documentation available from the visit, this
review and the outside provider’s documentation are recorded in the inmate’s
medical record, and appropriate follow-up is provided.

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Medication Administration

Cermak shall ensure that treatment and administration of medication to inmates is
implemented in accordance with generally accepted correctional standards of
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Cermak shall develop policies and procedures to ensure the accurate
administration of medication and maintenance of medication records Cermak
shall provide a systematic physician review of the use of medication to ensure that
each inmate’s prescribed regimen continues to be appropriate and effective for his
or her condition

Cermak shall ensure that medicine administration is hygienic, appropriate for the
needs of inmates, and is recorded concurrently with distribution

Cermak shall ensure that medication administration is performed by Qualified
Nursing Staff

When Cermak prescribes medication to address an inmate’s serious mental health
needs, HIV or AIDS, or thromboembolic disease, Cermak shall alert CCDOC that
the inmate in question is on a flagged medication. If the prescription is
terminated during an inmate’s stay at the Facility, Cermak will notify CCDOC.

When CCDOC receives notice that an inmate is on a flagged medication CCDOC
shall include notation of a medication flag in the inmate’s profile on the Facility’s
Jail Management System.

When an inmate with a medication flag is processed for discharge at the Facility,
CCDOC shall escort the inmate to designated Cermak staff in the intake screening
area of the Facility for discharge medication instructions

When CCDOC escorts an inmate with a medication flag to Cermak staff during
discharge processing, Cermak staff shall provide the inmate with printed
instructions regarding prescription medication and community resources

Each morning, CCDOC shall provide Cermak with a list of all inmates with
medication flags who were discharged the previous day.

Within 24 hours of discharge of an inmate with a medication flag, Cermak shall
call in an appropriate prescription to the designated pharmacy on the Stroger

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Hospital campus to serve as a bridge until inmates can arrange for continuity of
care in the community.

CCDOC shall ensure that infonnatiiin about pending transfers of inmates is
communicated to Cermak as soon as it is available.

When CCDOC has advance notice and alerts Cermak of the pending transfer to
another correctional facility of inmates with serious medical or mental health
needs from detention Cermak shall supply sufficient medication for the period of
transit. ln such cases, Cermak shall prepare and send with transferring inmates a
transfer summary detailing major health problems and listing current medications
and dosages, as well as medication history while at the Facility.

CCDOC shall ensure that the transfer summary and any other medical records
provided by Cermak will accompany inmates, or will be made available
electronically or transmitted by facsimile, when they are transferred from the
Facility to another institution,

Specialty Care

a.

Cermak shall ensure that inmates whose serious medical or mental health needs
extend beyond the services available at the Facility shall receive timely and
appropriate referral for specialty care to appropriate medical or mental health care
professionals qualified to meet their needs

Upon reasonable notification by Cermak, CCDOC will transport inmates who
have been referred for outside specialty care to their appointments

Cermak shall ensure that inmates who have been referred for outside specialty
care by the medical staff or another specialty care provider are scheduled for
timely outside care appointments Cermak shall provide reasonable notice to
CCDOC of such appointments so that CCDOC can arrange transportation
Inmates awaiting outside care shall be seen by Qualified Medical Staff as
medically necessary, at clinically appropriate intervals to evaluate the current
urgency of the problem and respond as medically appropriate lf an inmate
refuses treatment following transport for a scheduled appointment, Cermak shall
have the inmate document his refusal in writing and include such documentation
in the inmate’s medical record.

Cermak shall maintain a current log of all inmates who have been referred for
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outside specialty care, including the date of the referral, the date the appointment
was scheduled, the date the appointment occurred, the reason for any missed or
delayed appointments and information on follow-up care, including the dates of
any future appointments

Cermak shall ensure that pregnant inmates are provided adequate pre-natal care,
Cermak shall develop and implement appropriate written policies and protocols
for the treatment of pregnant inmates, including appropriate screening, treatment,
and management of high risk pregnancies

Dental Care

Cermak shall ensure that inmates receive adequate dental care, and follow up, in
accordance with generally accepted correctional standards of care. Such care
should be provided in a timely manner, taking into consideration the acuity of the
problem and the inmate’s anticipated length of stay. Dental care shall not be
limited to extractions.

Cermak shall ensure that adequate dentist staffing and hours shall be provided to
avoid unreasonable delays in dental care.

MENTAL HEALTH CARE

Assessment and Treatment

Results of mental health intake screenings (ge_§ provision 45.c, “Intake
Screening”) will be reviewed by Qualified Mental Health Staff for appropriate
disposition

Cermak shall develop and implement policies and procedures to assess inmates
with mental illness; and to evaluate inmates’ mental health needs Said policies
shall include definitions of emergent, urgent, and routine mental health needs, as
well as timeframes for the provision of services for each category of mental health
needs ` :

Cermak shall ensure that any inmate who screens positively for mental illness or
suicidal ideation during the intake screening process, through a mental health
assessment, or who is otherwise referred for mental health services receives a
clinically appropriate mental health evaluation in a timely manner, based on
emergent, urgent, and routine mental health needs, from a Qualified Mental

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Health Professional, or Qualified Mental Health Staff with appropriate, on- s-ite
supervision by a Qualified Mental Health Professional Such mental health
evaluation shall include a recorded diagnosis section on Axis I, II, and III, using
the DSM- IV-TR, or subsequent Diagnostic and Statistica| Manual of the
American Psychiatric Association. If a Qualified Mental Health Professional, or a
Qualified Mental Health Staff with appropriate, on-site supervision by a Qualified
Mental Health Professional, finds a serious mental illness they shall refer the
inmate for appropriate treatment Cermak shall request and review available
information regarding any diagnosis made by the inmate’s community or hospital
treatment provider, and shall account for the inmate’s psychiatric history as a part
of the assessment Cermak shall adequately document the mental health
evaluation in the inmate’s medical record.

d. Cermak shall ensure clinically appropriate and timely treatment for inmates
whose assessments reveal serious mental illness or serious mental health needs,
including timely and regularly scheduled visits with Qualified Mental Health
Professionals or with Qualified Mental Health Staff, with appropriate, on-site
supervision by a Qualified Mental Health Professional.

e. Cermak shall ensure that treatment plans adequately address inmates’ serious
mental health needs and that the plans contain interventions specifically tailored
to the inmates’ diagnoses

f. Cermak shall provide 24-hour/F7;day psychiatric coverage to meet inmates’

serious mental health needs and ensure that psychiatrists see inmates in a timely
maI]H€I'.
g. Cermak shall ensure timely provision of therapy, counseling, and other mental

health programs for all inmates with serious mental illness This includes
adequate number of Qualified Mental Health Staff to provide treatment, and an
adequate array of structured therapeutic programming Cermak will develop and
implement policies and procedures defining the various levels of care and
identifying the space, staffing, and programming that are appropriate to each
identified level of care,

h. Inmates shall have access to appropriate infirmary psychiatric care when
clinically appropriate.

i. Cermak shall provide the designated CCDOC official responsible for inmate
disciplinary hearings with a mental health caseload roster listing the inmates

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currently receiving mental health care,

j. When CCDOC alerts Cermak that an inmate is placed in lock down status for
disciplinary reasons a Qualified Mental Health Professional will review the
disciplinary charges against inmate to determine the extent to which the charge
was related to serious mental illness The Qualified Mental Health Professional
will make recommendations to CCDOC when an inmate’s serious mental illness
should be considered as a mitigating factor when punishment is imposed on an
inmate with a serious mental illness and to minimize any deleterious effect of
disciplinary measures on an inmate’s mental health status

k. In the case of mentally ill inmates in segregation CCDOC shall consult with
Cermak to determine whether continued segregation is appropriate or whether the
inmate would be appropriate for graduated alternative based on Cermak’s
assessment

l. Cermak shall ensure that mentally ill inmates in segregation receive timely and
appropriate treatment, including completion and documentation of regular rounds
in the segregation units at least once per week by adequater trained Qualified
Mental Health Professionals or by Qualified Mental Health Staff with appropriate,
on-site supervision by a Qualified Mental Health Professional, in order to assess
the serious mental health needs of inmates in segregation Inmates who are
placed in segregation shall be evaluated within 24 hours of placement and
thereafter regularly evaluated by a Qualified Mental Health Professiona|, or by a
Qualified Mental Health Staff with appropriate, on-site supervision by a Qualified
Mental Health Professional to determine the inmate’s mental health status which
shall include an assessment of the potential effect of segregation on the inmate’s
mental health. During these regular evaluations Cermak shall provide CCDOC
with its recommendation regarding whether continued segregation is appropriate
or whether the inmate would be appropriate for graduated alternative based on the
assessment of the Qualified Mental Health Professiona|, or Qualified Mental
Health Staff with appropriate, on-site supervision by a Qualified Mental Health
Professional. 1 `

m. Cermak shall maintain an updated log of inmates receiving mental health services
which shall include both those inmates who receive counseling and those who
receive medication Cermak shall create such a log within six months of the date
this Agreed Order is executed The log shall include each inmate’s name,
diagnosis or complaint, and next scheduled appointment, Each clinician shall
have ready access to a current log listing any prescribed medication and dosages

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for inmates on psychotropic medications In addition inmate’s medical records
shall contain current and accurate information regarding any medication changes
ordered in at least the past year.

Cermak shall ensure that a psychiatrist physician or licensed clinical psychologist
conducts an in-person evaluation of an inmate prior to a seclusion or restraint
order, or as soon thereafter as possible An appropriately credentialed registered
nurse may conduct the in-person evaluation of an inmate prior to a seclusion or
restraint order that is limited to two hours in duration Patients placed in
medically-ordered seclusion or restraints shall be evaluated on an on-going basis
for physical and mental deterioration Seclusion or restraint orders should include
sufficient criteria for release.

Cermak shall ensure an adequate array of crisis services to appropriately manage
the psychiatric emergencies that occur among inmates Crisis services shall not
be limited to administrative segregation or observation status

Cermak shall ensure that inmates have access to appropriate acute infirmary care,
comparable to in-patient psychiatric care, within the Cermak facility.

Psychotherapeutic Medication Administrati_on

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Cermak shall ensure that psychotropic medication orders are reviewed by a
psychiatrist on a regular, timely basis for appropriateness or adjustment Cermak
shall ensure that changes to an inmate’s psychotropic medications are clinically
justified and documented in the inmate’s medical record.

Cermak shall ensure timely implementation of physician orders for medication
and laboratory tests Cermak shall ensure that inmates who are being treated with
psychotropic medications are seen regularly by a physician to monitor responses
and potential reactions to those medications including movement disorders and
provide treatment where appropriate.

SUICIDE PREVENTION MEASURES

Suicide Prevention Policy

3.

CCDOC shall participate with Cermak in ajointly established Suicide Prevention
Committee charged with developing policies and procedures to ensure the
appropriate management of suicidal inmates and with implementing and

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monitoring a suicide prevention program in accordance with generally accepted
correctional standards of care.

b. Cermak shall participate with CCDOC in a jointly established Suicide Prevention
Committee charged with developing policies and procedures to ensure the
appropriate management of suicidal inmates and with implementing and
monitoring a suicide prevention program in accordance with generally accepted
correctional standards of care.

c. The suicide prevention policy shallinclude, at a minimum, the following
provisions
(l) an operational description of the requirements for both pre-service
and annual in-service training;
(2) intake screening/assessment;
(3) communication
(4) housing;
(5) observation;
(6) intervention; and
(7) mortality and morbidity review.
62. Suicide Precautions
a. CCDOC shall ensure that, where suicide prevention procedures established jointly

with Cermak involve correctional personnel for constant direct supervision of
actively suicidal inmates or close supervision of special needs inmates with lower
levels of risk (e.g., 15 minute checks), correctional personnel perform and
document their monitoring and checks

b. Cermak shall ensure that, where suicide prevention procedures established jointly
with CCDOC involve health care personnel for constant direct supervision of
actively suicidal inmates or close supervision of special needs inmates with lower
levels of risk (e.g., 15 minute checks), health care personnel perform and
document their monitoring and checks

c. CCDOC shall ensure that when an inmate is identified as suicida|, the inmate
shall be searched and monitored with constant direct supervision until the inmate
is transferred to appropriate Cermak Staff.

d. Cermak shall develop and implement policies and procedures for suicide
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precautions that will set forth the conditions of the watch, including but not
limited to allowable clothing, property, and utensils in accordance with generally
accepted correctional standards of care. These conditions shall be altered only on
the written instruction of a Qualified Mental Health Professional, except under
emergency circumstances

63. Cermak shall ensure that Qualified Mental Health Staff assess and interact with (not just
observe) inmates on Suicide Precautions, and document the assessment and interaction on
a daily basis

64. Suicide Risk Assessments

a. Cermak shall ensure that any inmate showing signs and symptoms of suicide is
assessed by a Qualified Mental Health Professional using an appropriate,
formalized suicide risk assessment instrument within an appropriate time not to
exceed 24 hours ofthe initiation of Suicide Precautions.

b. Cermak shall ensure that the risk assessment shall include the following:
(l) description of the antecedent events and precipitating factors
(2) mental status examination
(3) previous psychiatric and suicide risk history;
(4) level of lethality;
(5) current medication and diagnosis and
(6) recommendations or treatment plan Findings from the risk

assessment shall be documented on both the assessment form and in
the inmate’s medical record.

65. Cermak shall ensure that inmates will only be removed from Suicide Precautions after a
suicide risk assessment has been performed and approved by a Qualified Mental Health
Professional, in consultation with a psychiatrist A Qualified Mental Health Professional
shall write appropriate discharge orders including treatment recommendations and
required mental health follow-up.

66. Suicide Prevention Policies

a. CCDOC shall ensure that suicide prevention policies established jointly with
Cermak include procedures to ensure the safe housing and supervision of inmates
based on the acuity of their mental health needs in accordance with generally
accepted correctional standards

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b, Cermak shall ensure that suicide prevention policies established jointly with
CCDOC include procedures to ensure the safe housing and supervision of inmates
based on the acuity of their mental health needs, in accordance with generally
accepted correctional standards

DFM shall ensure that cells designated by CCDOC or Cermak for housing suicidal

inmates shall be retrofitted to render them suicide-resistant (e.g., elimination of protrusive

shower heads unshie|ded lighting or electrical sockets). Inmates known to be suicidal
shall not be housed in cells with exposed bars.

Suicide Prevention Training

a. Cermak shall ensure that the Facility’s suicide prevention curriculum for health
care staff members jointly established with CCDOC, addresses the following
topics:

(l) the suicide prevention policy as revised consistent with this Agreed Order;

(2) why facility environments may contribute to suicidal behavior;

(3) potential predisposing factors to suicide;

(4) high risk suicide periods

(5) warning signs and symptoms of suicidal behavior;

(6) observation techniques _

(7) searches of inmates who are placed on Suicide Precautions;

(8) case studies of recent suicides and serious suicide attempts (Serious
suicide attempts are typically considered to be those that either were

potentially life-threatening or that required medical attention);

(9) mock demonstrations regarding the proper response to a suicide attempt;
and

(10) the proper use of emergency equipment, including suicide cut-down tools

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b. Within 24 months of the effective date of this Agreed Order, CCDOC shall train
all CCDOC staff members who work with inmates on the Facility’s suicide
prevention program. Implementation of such training shall begin as soon as
possible following the effective date of this Agreed Order. Staff shall
demonstrate competency in the verbal and behavioral cues that indicate potential
suicide, and how to respond appropriately Initial and at least annual training
shall be provided in accordance with generally accepted professional standards

c. Within 12 months of the effective date of this Agreed Order, Cermak shall train
all Cermak staff members who work with inmates on the Facility’s suicide
prevention program. Implementation of such training shall begin as soon as
possible following the effective date of this Agreed Order. Staff shall
demonstrate competency in the verbal and behavioral cues that indicate potential
suicide, and how to respond appropriately Initial and at least annual training
shall be provided in accordance with generally accepted professional standards

CCDOC shall ensure that security staff posts will be equipped, as appropriate, with
readily available, safely secured, suicide cut-down tools

Cermak shall document inmate suicide attempts at the Facility, as defined by the Suicide
Prevention Committee’s policies and procedure in accordance with generally accepted
correctional standards in the inmate’s correctional record in CCDOC’s new .lail
Management System, in order to ensure that both correctional and health care staff will
be aware at future intakes of past suicide attempts if an inmate with a history of suicide
attempts is admitted to the Facility again in the future. Cermak will begin to document
this information within six months after execution of this Agreement.

FIRE AND LIFE SAFETY

CCDOC and DFM shall work together to develop and implement a comprehensive fire
safety program and ensure compliance is appropriately documented The initial fire safety
plan shall be approved by the fire prevention authority havingjurisdiction. The fire safety
plan shall be reviewed thereafter by the appropriate fire prevention authority at least
every two years or within six months of any revisions to the plan, whichever is sooner.
Fire safety and emergency procedures shall be standardized across divisions to the extent
possible given differences iri physical plant and security levels

CCDOC shall develop and implement an evacuation plan for inmates and staff and
ensure that comprehensive fire drills are conducted every three months on each shift
CCDOC shall document these drills including start and stop times and the number and

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location of inmates who were moved as part of the drills

DFM shall ensure that the Facility has adequate fire and life safety equipment including
installation and maintenance of fire alarms and smoke detectors in all housing areas
according to applicable fire codes Maintenance and storage areas shall be equipped with
sprinklers or fire resistant enclosures in accordance with City of Chicago Fire Code (13-
76-010).

DFM shall ensure that all fire and life safety equipment is properly maintained and
routinely inspected DFM shall develop and implement a program related to the testing,
maintenance and inspection ofthe Life Safety Equipment.

CCDOC shall continue to ensure that emergency keys are appropriately marked and
identifiable by touch and consistently stored in a quickly accessible location and that
staff are adequately trained in use of the emergency keys

CCDOC shall ensure that staff are able to manually unlock all doors (without use of the
manual override in the event of an emergency in which the manual override is broken),
including in the event of a power outage or smoke buildup where visual examination of
keys is generally impossible CCDOC shall conduct and document random audits to test
staff proficiency in performing this task on all shifts a minimum of three times per year.
CCDOC shall conduct regular security inspections of all locking mechanisms CCDOC
shall communicate with DFM via the Work Order System regarding lock-related issues
and maintenance

DFM shall develop and implement an annual preventative maintenance program
conceming security devices such as door locks fire and smoke barrier doors and manual
unlocking mechanisms to ensure these devices function properly in the event of an
emergency

CCDOC shall implement competency-based testing for staff regarding fire and
emergency procedures

CCDOC shall promptly notify DFM of all electrical hazards including maintenance and
repair of electrical outlets devices and exposed electrical wires.

DFM shall promptly repair all known electrical hazards including maintenance and

repair of electrical outlets devices and exposed electrical wires and will document
repairs by the Work Order System.

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CCDOC shall ensure that combustibles are controlled and eliminate highly flammable
materials throughout the facility and inmate living areas (e.g., inmates’ use of paper bags
as trash receptacles ripped fire-retardant mattress covers improvised cell light covers
blankets on cell floors and improperly stored and labeled flammable liquids and other
chemicals).

CCDOC shall ensure that fire safety officers are trained in fire safety and have
knowledge in basic housekeeping, emergency preparedness basic applicable codes, and
use of fire extinguishers and other emergency equipment

SANITATION AND ENVIRONMENTAL CONDITIONS
Sanitation and Maintenance of Facilities

a. DFM shall maintain an adequate‘wr_itten staffing plan and sufficient staffing
levels to provide for adequate maintenance of the Facility.

b. CCDOC shall revise and implement written housekeeping and sanitation plans to
ensure the proper routine cleaning of housing, shower, and medical areas in
accordance with generally accepted correctional standards Such policies should
include oversight and supervision including meaningful inspection processes and
documentation, as well as establish routine cleaning requirements for toilets
showers and housing units

c. DFM shall implement a preventive maintenance plan to respond to routine and
emergency maintenance needs including ensuring that shower, toilet, and sink
units are adequately maintained and installed.

d. CCDOC shall notify DFM, in a timely manner, of routine and emergency
maintenance needs, including plumbing, lighting, and ventilation problems

e. DFM shall ensure adequate ventilation throughout the Facility to ensure that
inmates receive an adequate supply of air flow and reasonable levels of heating
and cooling DFM staff shall review and assess compliance with this requirement
on a daily basis for automated systems and on an annual basis for non-automated

systems
f`. CCDOC shall notify DFM of any visible obstructions to the ventilation system.
g. Cook County shall ensure adequate lighting in all inmate housing and work areas

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h. CCDOC shall ensure adequate pest control throughout the housing units medical
units RCDC, RTU, and food storage areas. CCDOC shall maintain a contract for
professional exterminator services for each division, food services areas and the
Cermak hospital. Services should provide for routine pest control spraying and
additional spraying as needed.

i. CCDOC shall ensure that all inmates have access to needed hygiene supplies

j. CCDOC shall develop and implement policies and procedures for cleaning,
handling, storing, and disposing of biohazardous materials in accordance with
generally accepted correctional standards CCDOC shall ensure that any inmate
or staff utilized to clean a biohazardous area are properly trained in universal
precautions are outfitted With protective materials and receive proper supervision
when cleaning a biohazardous area.

k. DFM shall develop a policy on hazardous materials storage, in accordance with
generally accepted correctional standards and insure that all DFM staff is
properly trained on the procedure

l. CCDOC shall provide and ensure the use of cleaning chemicals that sufficiently
destroy the pathogens and organisms in biohazard spills.

m. CCDOC shall inspect and replace as often as needed all frayed and cracked
mattresses CCDOC shall destroy any mattress that cannot be sanitized
sufficiently to kill any possible bacteria. CCDOC shall ensure that mattresses are
properly sanitized between uses

n. CCDOC shall ensure adequate control and observation of all housing units
including distribution and collection of razors and cleaning supplies All cleaning
tools and hazardous chemicals shall be removed from housing areas after use.

o. CCDOC shall ensure that Facility sanitarians receive training from a relevant
state, national, or professional association with emphasis on assessment of
environmental health practices and emerging environmental issues in correctional
settings Facility sanitarians should also have training on and access to testing
equipment to ensure sanitary conditions

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84.

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Sanitary Laundry Procedures

B..

CCDOC shall develop and implement policies and procedures for laundry
procedures to protect inmates from risk of exposure to communicable disease, in
accordance with generally accepted correctional standards To limit the spread of
communicable disease, CCDOC shall ensure that clothing and linens returned
from off-site laundry facility are clean, sanitized, and dry.

CCDOC shall ensure that inmates are provided adequate clean clothing,
underclothing and bedding, consistent with generally accepted correctional
standards and that the laundry exchange schedule provides consistent distribution
and pickup service to all housing areas

CCDOC shall train staff and educate inmates regarding laundry sanitation
policies, '

CCDOC shall ensure that laundry delivery procedures protect inmates from
exposure to communicable diseases by preventing clean laundry from coming into
contact with dirty laundry or contaminated surfaces

CCDOC shall require inmates to provide all clothing and linens for laundering
and prohibit inmates from washing and drying laundry outside the formal
procedures

Food Service

a.

CCDOC shall ensure that food service at the Facility is operated in a safe and
hygienic manner and that foods are served and maintained at safe temperatures

CCDOC shall ensure that all food service staff, including inmate staff, must be
trained in food service operations safe food handling procedures and appropriate
sanitation.

CCDOC shall ensure that the Ce_nt_ral Kitchen and Division Xl kitchen are staffed
with a sufficient number of appropriately supervised and trained personnel.

CCDOC shall ensure that dishes and utensils food preparation and storage areas

and vehicles and containers used to transport food are appropriately cleaned and
sanitized.

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CCDOC shall check and record, on a regular basis the temperatures in the
refrigerators coolers walk-in~refr_igerators, the dishwasher water, and all other
kitchen equipment with temperature monitors to ensure proper maintenance of
food service equipment

QUALITY MANAGEMENT AND PERFORMANCE MEASURENIENT

86. Quality Management and Performance Measurement

H.

Defendants shall each develop and implement written quality management
policies and procedures, in accordance with generally accepted correctional
Standards, to regularly assess identify, and take all reasonable measures to assure
compliance with each of the provisions of this Agreed Order applicable to that
Defendant.

Defendants shall each develop and implement policies to address and correct
deficiencies that are uncovered during the course of quality management
activities including monitoring corrective actions over time to ensure sustained
resolution, for each of the provisions of this Agreed Order applicable to that
Defendant.

CCDOC shall participate with Cermak and DFM in a jointly established Health
Care Quality Improvement Committee, to be charged with developing and
implementing ajoint quality improvement program. CCDOC shall contribute the
time and effort ofCCDOC staff members who, by virtue of their authority,
current responsibilities and/or past experience, can provide this committee with
needed correctional representation

Cermak shall participate with CCDOC and DFM in a jointly established Health
Care Quality Improvement Committee, to be charged with developing and
implementing ajoint quality improvement program. Cermak will work with
CCDOC and DFM to identify those CCDOC and DFM staff members who, by
virtue of their authority, current responsibilities and/or past experience, can
provide this committee with needed correctional representation. Quality
management programs related to medical and mental health care will utilize
performance measurements to assess quality of care and timely access to care
with quantitative and qualitative data analysis and trending over time.

DFM shall participate with CCDOC and Cermak in ajointly established Health
Care Quality lmprovement Committee, to be charged with developing and

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implementing a joint quality improvement program. DFM shall contribute the
time and effort of DFM staff members who, by virtue of their authority, current
responsibilities and/or past experience, can provide this committee with needed
correctional representation

IV. MONITORING

Monitor Selection: The parties have jointly selected Ms. Susan McCampbell to serve as
the monitor for the CCDOC corrections provisions of the Agreed Order (“Corrections
Monitor”). The parties have jointly selected Dr. Ronald Shansky to serve as the monitor
for the medical provisions of this Agreed lOrder (“Medical Monitor”). The parties have
jointly selected Dr. Jeffrey Metzner to serve as the monitor for the mental health
provisions of this Agreed Order (“Mental Health Monitor”). The parties have jointly
selected Mr. Harry Grenawitzke to serve as monitor for the physical plant (§§ III.F and
III.G), DFM, and Capital Flanning provisions of this Agreed Order (“Physical Plant
Monitor”). With provisions that involve overlap between two disciplines such as § lII.B,
Elements Common to Medical and Mental Health, the relevant Monitors shall coordinate
in order to determine the proper manner for the necessary compliance assessmentl
Should any of the monitor positions become vacant and the parties cannot agree on a
replacement, the parties shall recommend candidates to the Court, and the Court will
appoint the Monitor. Neither party, nor any employee or agent of either party, shall have
any supervisory authority over the Monitors’ activities reports findings or
recommendations The cost for the Monitors’ fees and expenses shall be borne by
Defendants The selection of the Monitors shall be conducted solely pursuant to the
procedures set forth in this Agreed Order, and will not be governed by any formal or
legal procurement requirements T he Monitors may be terminated only for good cause,
unrelated to the Monitors’ findings or recommendations and only with prior notice to,
and approval of, the parties or by Court order. Should all the parties agree that a Monitor
is not fulfilling his or her duties in accordance with this Agreed Order, the parties may
petition the Court for the Monitor’s immediate removal and replacement One party may
unilaterally petition the Court for the Monitor’s removal for good cause, and the other
parties will have the opportunity to respond to the petition.

Monitor Qualifications: The Monitors shall have appropriate experience and education
or training related to the subject areas covered in this Agreed Order.

Monitoring Team: The Monitors may hire or consult with such additional qualified staff
as necessary to fulfill the duties required by the Agreed Order (“Monitoring Teams”).
The Monitors are ultimately responsible for the findings regarding compliance The
Monitoring Teams will be subject to all the same access rights and confidentiality

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G.

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limitations listed below, as the Monitors.' T he parties reserve the right to object for good
cause to members of the Monitoring Teams.

Monitor Access: The Monitors shall have full and complete access to the Facility, all
Facility records inmate medical records staff, and inmates Defendants shall direct all
employees to cooperate fully with the Monitors. All non-public information obtained by
the Monitors shall be maintained in a confidential manner.

Monitor Ex Parte Communications: The Monitors shall be permitted to initiate and
receive ex parte communications with all parties

Limitations on Public Disclosures by Monitors: Except as required or authorized by the
terms of this Agreed Order or the parties acting together, the Monitors shall not: make
any public statements (at a conference or otherwise) or issue findings with regard to any
act or omission of Defendants or their agents representatives or employees or disclose
nonpublic information provided to the Monitors pursuant to this Agreed Order. Any
press statement made by the Monitors regarding his or her employment must first be
approved in writing by all parties The Monitors shall not testify in any other litigation or
proceeding with regard to any act or omission of Defendants or any of their agents
representatives or employees related to this Agreed Order, nor testify regarding any
matter or subject that he or she may have learned as a result of his or her performance
under this Agreed Order. Reports issued by the Monitors shall not be admissible against
Defendants in any proceeding other than a proceeding related to the enforcement of this
Agreed Order by Defendants or DOJ. Unless such conflict is waived by the parties the
Monitors shall not accept employment cr provide consulting services that would present a
conflict of interest with the Monitors’ responsibilities under this Agreed Order, including
being retained (on a paid or unpaid basis) by any current or future litigant or claimant, or
such |itigant’s or claimant’s attorney, in connection with a claim or suit against
Defendants their departments officers agents or employees The Monitors are not a
State/County or local agency or an agent thereof, and accordingly the records maintained
by the Monitors shall not be deemed public records subject to public inspection. Neither
the Monitors nor any person or entity hired or otherwise retained by the Monitors to
assist in furthering any provision of this Agreed Order shall be liable for any claim,
lawsuit or demand arising out of the Monitors’ performance pursuant to this Agreed
Order. This provision does not apply to any proceeding before a court related to
performance of contracts or subcontracts for monitoring this Agreed Order.

Monitors’ Reports: The Monitors shall file with the Court and provide the parties with
reports describing the steps taken by Defendants to implement this Agreed Order and
evaluate the extent to which Defendants have complied with each substantive provision

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H.

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of the Agreed Order. The Monitors shall issue an initial report four months after the
effective date of this Agreed Order, and then every six months thereafter, unless both
parties otherwise agree in writing. The reports shall be provided to the parties in draft
form for comment at least two weeks prior to their issuance. These reports shall be
written with due regard for the privacy interests of individual inmates and staff and the
interest of Defendants in protecting against disclosure of non-public infonnation.

Compliance Assessments: ln each Monitors’ report, the Monitors shall evaluate the
status of compliance for each relevant provision of the Agreed Order using the following
standards ( 1) Substantiai Compliance; (2) Partial Compliance, and (3) Non-compliance.
In order to assess compliance, the Monitors shall review a sufficient number of pertinent
documents to accurately assess current conditions interview all pertinent staff; and
interview a sufficient number of inmates to accurately assess current conditions The
Monitors shall be responsible for independently verifying representations from
Defendants regarding progress toward compliance, examining supporting documentation
where applicable Each Monitor’s report shall describe the steps taken to analyze
conditions and assess compliance, including documents reviewed and individuals
interviewed, and the factual basis for each of the Monitor’s findings

Budget: The parties acknowledge that compliance with certain provisions of this Agreed
Order will require additional expenditure of funds The parties also acknowledge that the
budget for CCD()C, Cermak, and DFM is subject to approval by the Cook County Board
of Commissioners.

Monitors’ Budget: Defendants shall provide the Monitors with a budget sufficient to
allow the Monitors to carry out the responsibilities described in this Agreed Order. The
Monitors shall pay the members of the Monitoring Teams out of this budget Prior to
selection for the Monitors’ positions each Monitor candidate proposed a reasonable,
estimated budget sufficient to cover the responsibilities described in this Agreed Order.

Technical Assistance by the Monitorsl The lMonitors shall provide Defendants with
technical assistance as requested by Defendants

V. REPORTING REQUIREMENTS AND RIGHT OF ACCESS
Defendants shall each submit semiannual compliance reports to DOJ and the Monitors
the first of which shall be filed within six months of the date of this Agreed Order.

Thereaf`ter, the semiannual reports shall be filed 15 days after the termination of each six-
month period thereafter until the Agreed Order is terminated

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Each compliance report shall describe the actions Defendants have taken during the
reporting period to implement this Agreed Order and shall make specific reference to the
Agreed Order provisions being implemented

Defendants shall maintain sufficient records to document that the requirements of this
Agreed Order are being properly implemented and shall make such records available to
DOJ at reasonable times for inspection and copying In addition, Defendants shall
maintain and submit upon request records or other documents to verify that they have
taken such actions as described in their compliance reports (e.g., census summaries
policies, procedures protocols, training materials and incident reports) and will also
provide all documents reasonably requested by DOJ.

DOJ and its attorneys consultants and agents shall have unrestricted access to the
Facility, inmates staff (including CCDOC, DFM, and Cermak staff, or staff from any
other outside medical or mental health services provider), and documents as reasonably
necessary to address issues affected by this Agreed Order.

Within 30 days of receipt of written questions from D()J concerning Defendants’
compliance with the requirements of this Agreed Order, Defendants shall provide DOJ
with written answers and any requested documents

CCDOC and Cook County shall each appoint a compliance coordinator to oversee
compliance with this Agreed Order and to serve as a point of contact

Whenever any Defendant invokes exigent circumstances to take action that departs from
what would otherwise be the requirements of this Agreed Order, that Defendant shall,
immediately upon taking such action, notify the Monitors and DOJ of the exigent
circumstances relied upon, the corresponding action taken, what it believes will be the
duration of such circumstances and such action, and the steps it is taking to attempt to
limit the duration of such action to as short a term as practicable

VI. ENFORCEMENT

During the period that the Agreed Order is in force, if any of the Monitors or DOJ
determines that a Defendant has not made material progress toward substantial
compliance with a significant obligation under the Agreed Order, and such failure
constitutes a violation of inmates’ constitutional rights DOJ may, but is not required to,
seek enforcement of the Agreed Order in Court.

Prior to takingjudicial action to enforce the Agreed Order, DOJ shall give Defendants
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written notice of its intent to seek enforcement of the Agreed Order, and the parties shall
engage in good-faith discussions to resolve the dispute

The relevant Defendant(s) shall have 30 days from the date of such notice to cure the
failure (or such additional time as is reasonable due to the nature of the issue and agreed
upon by the parties) and provide DOJ with sufficient proof of its cure At the end of the
30-day period (or such additional time as is reasonable due to the nature of the issue and
agreed upon by the parties), in the event'that DOJ determines that the failure has not been
cured, DOJ may seek judicial action without further notice DOJ commits to work in
good faith with Defendants to avoid enforcement actions

The terms of this Agreed Order are not subject to state or federal court enforcement by
anyone other than DOJ.

In case of an emergency posing an immediate threat to the health or safety of an inmate
or staff member at the Facility, however, DOJ may omit the notice and cure requirements
herein before seeking enforcement of the Agreed Order.

VII. CONSTRUCTION, IMPLEMENTATION AND TERMINATI()N

Defendants shall implement all reforms within their areas of responsibility, as designated
within the provisions of this Agreed Order, that are necessary to effectuate this Agreed
Order. The implementation of this Agreed Order will begin immediately upon the
effective date.

Except where otherwise agreed to under a specific provision of this Agreed Order,
Defendants shall implement of all provisions of this Agreed Order within 180 days of the
entry of this Agreed Order. 'V _ _"`
This Agreed Order shall terminate when Defendants have achieved substantial
compliance with each of the provisions of the Agreed Order and have maintained
Substantial Compliance with the Agreed Order for a period of 13 months The parties
anticipate that Defendants will have achieved substantial compliance with all provisions
of the Agreed Order within four years of the Agreed Order’s Effective Date and sustained
compliance with each such provision for at least 18 months The parties agree that a full
substantive section of the Agreed Order (§ III.A: Protection from Harm, § III.B: Health
Care Services § III.C: Medical Care, § III.D: Mental Health Care,

§ III.E Suicide Prevention Measures § III.F: Fire and Life Safety, § III.G: Sanitation
and Environmental Conditions, or § III.H: Quality Management and Perforrnance
Measurement) may conclude independently of the rest of the Agreed Order in the event

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that substantial compliance for all subcomponents of each provision in the full
substantive section is achieved and maintained for the requisite 123-month period. In
addition, if the responsible Defendant has substantially complied with all of the
provisions assigned to it in a full substantive section of the Agreed Order (for example,
CCDOC could substantially comply with all of the provisions specifically assigned to it
in § III.C: Medical Care), and has maintained Substantial Compliance with all of those
provisions for at least 18 months, those provisions may conclude independently of the
rest of the Agreed Order. The burden shall be on the Defendant(s) to demonstrate this
level of compliance Non-compliance with mere technicalities, or temporary failure to
comply during a period of otherwise sustained compliance will not constitute failure to
maintain Substantial Compliance. At the same time, temporary compliance during a
period of sustained Non-compliancc shall not constitute Substantial Compliance.

The parties agree that every two years following the effective date of this Agreed Order,
the Court shall conduct a status conference regarding the status of Defendants’
compliance with this Agreed Order.

F ailure by any party to enforce this entire Agreed Order or any provision thereof with
respect to any deadline or any other provision herein shall not be construed as a waiver of
its right to enforce other deadlines or provisions of this Agreed Order.

If any unforseen circumstance occurs that causes a failure to timely carry~out any
requirements of this Agreed Order, Defendants shall notify DOJ in writing within 20
calendar days after Defendants become aware of the unforseen circumstance and its
impact on the Defendant’s ability to perform under the Agreed Order. The notice shall
describe the cause of the failure to perform and the measures taken to prevent or
minimize the failure. Defendants shall implement all reasonable measures to avoid or
minimize any such failure.

This Agreed Order shall constitute the entire integrated Agreed Order of the parties.
With the exception of DOJ’s findings letter, referenced in provision I.4 herein, and any
DOJ technical assistance recommendations, no prior or contemporaneous
communications, oral or written, will be relevant or admissible for purposes of
determining the meaning of any provisions herein in this litigation or in any other
proceeding

Nothing herein shall be deemed, construed, or interpreted as an admission of liability by
Defendants Neither this Agreed Order, nor any part thereof, shall be admissible against
Defendants except in a proceeding involving the parties to this Agreed Order.
Furthermore, by entering into this Agreed"'Order, Defendants do not waive the right to

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contest the July ll, 2008 findings letter or any of the conclusions set forth therein.

The Agreed Order shall be applicable to, and binding upon, all parties, their officers,
agents, employees, assigns, and their successors in oftice.

Each party shall bear the cost of its fees'an_d expenses incurred in connection with this
cause. ` "'

In the event that any provision of this Agreed Order is declared invalid for any reason by
a court of competentjurisdiction, said finding shall not affect the remaining provisions of
this Agreed Order.

VIII. STIPULATION PURSUANT TO THE PRISON LITIGATION
REFORM ACT, 18 U.S.C. § 3626

F or the purposes of this Agreed Order only and in order to settle this matter, the parties
stipulate that this Agreed Order complies in all respects with the provisions of 18 U.S.C.
§ 3626(a). The parties further stipulate and agree that the prospective relief in this
Agreed Order is narrowly drawn, extends no further than necessary to correct the
violations of federal rights alleged by the United States, is the least intrusive means
necessary to correct these violations, and will not have an adverse impact on public safety
or the operation of a criminal justice system. Accordingly, the parties agree and represent
that the Agreed Order complies in all respects with the provisions of 18 U.S.C. § 3626(a).

The issue of liability has not been litigated
This Agreed Order is not intended to havegany preclusive effect except between the
parties. Should the issue of the preclusive effect of this Agreed Order be raised, the

parties agree to certify that this Agreed Order was intended to have no such preclusive
effect.

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FOR THE DEFENDA.NTS COOK COUNTY, IL
AND THE COOK COUNTY BOARD OF
. COIV]]VIISSIONERS:

 

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